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Cambridge, MA 02138

PERIOD COVERED BY THIS REPORT

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3. FEDERAL EMPL ONS b 04210350 2/01/96 2/29/96
a. Cash on hand beginning of reporting period DEFICIT $ (1,414, 051.68)

b. Letter of credit withdrawals 1,856,000,00 *%

11, STATUS OF c. Treasury check payments Sat 0.00

FEDERAL d. Total receipts (Sum of lines band e) , 1,856, 000.00
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CASH e. Total cash available (Sum of lines a and d) 2 2 , 441,948.32

f. Gross disbursements 1,865,851.32

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on the back) h. Net disbursements (Line f minus line g) 1,865,851.32
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (1,423, 903.00)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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14. REMARKS (Attach additional sheets of plain paper, if more space ts required)
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Marisa Schasel - Cash Manager (617) 496-2507

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. L EMPLOYER FROM (month, dag, your) TO (menth. day pear)
3 IDENTIFICATION NO. > 04210350 3/01/96 3/31/96
a. Cash on hand beginning of reporting period DEFICIT $ (1, 423,903.00)
b. Letter of credit withdrawals 1,886,000.00
c. Treasury check payments 0.00
11. STATUS OF
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FEDERAL d. Total receipts (Sum of lines b and c) hehe met ‘ l, 1,896,000.00
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14. REMARKS (Attach additional sheets of plain paper, if more space is required)

15. CERTIFICATION

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4/10/96

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the purpose and conditions
of the grant or agreement

OFFICIAL

Marisa Schasel - Cash Manager

TELEPHONE (Ares Code,
Number, Extenston)

(617) 496-2507

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STANDARD FORM 272 (7-76)
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Name PRESIDENT & FELLOWS OF HARVARD COLLEGE G. Letter of credit amber 7. Lact payment voucher sumber
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3. FEDERAL EMPLOYER > FROM (menth, day, year) TO (month, day year)
IDENTIFICATION NO. 04210350 4/01/96 4/30/96
8. Cash on hand beginning of reporting period DEFICIT $ (2,102, 669.12)
b. Letter of credit withdrawals 3,304, 866.00
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11. STATUS OF ¢. Treasury check payments — 0.00
FEOERAL d. Total receipts (Sum of lines b and ¢) os ° 4 3, 304,866.00
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_ ( f i May iA 1996 1,202,196.88
f. Gross disbursements - PEP EEN ~ 2,108, 852.25
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12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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Marisa Schase] - Cash Manager (617) 496-2507
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a. Cash on hand beginning of reporting period DEFICIT $ (906,655.37)

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d. Total receipts (Sum of lines b and ¢)

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CASH e. Total cash available (Sum of lines a and d) A 833,344.63
f. Gross disbursements JUN , 18 1896 2,417, 231.06
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on the back) h. Net disbursements (Line f minus line g) 2,417, 231.06
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14. REMARKS (Attach additional sheets of plain paper, if more space is required)

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{ certify to the best of my
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ments have been made for CERTIFYING OR PRINTED NAME AND TITLE
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Mariea Schasel - Cash Manager

TELEPHONE (Ares Code,
Number, Extension)

(617) 496-2507

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STANDARD FORM 272 (7-76)
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c. Treasury check ents
11. STATUS OF ¥ paym 0.00
FEDERAL d. Total receipts (Sum of lines b and c) 3,075, 000.00
CASH e. Total cash available (Sum of lines a and d) 1,491, 133.57
f. Gross disbursements 3,229,191.00
a . Federal share of ram income
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Marisa Schasel - Cash Manager

Number, Extension) -

(617) 496-2507

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b. Letter of credit withdrawals 3,075, 000.00
11. STATUS OF c. Treasury check payments 0.00
FEDERAL d. Total receipts (Sum of lines 6 and ¢) 3,075,000.00
CASH e. Total cash available (Sum of lines o axd d) 1,491,213.57
f. Gross disbursements 3, 329,595.12
g. Federal share of program income 0.00
h. Net disbursements (Line f minus line g) 3,329,595.12
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (1, 838,482.55)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space is required)

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Marisa Schasel - Cash Manager (617) 496-2507
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IDENTIFICATION NO. » 04210350 7/01/96 7/31/96
a. Cash on hand beginning of reporting period DEFICIT $ (1, 838,482.55)
b. Letter of credit withdrawals 2,358,000, 00
¢. Treasury check ents .

11. STATUS OF y paym 0.00
FEDERAL d. Total receipts (Sum of lines b and ¢) 2,358,000.00
CASH e. Total cash available (Sum of lines a and d) 519,628.45

f. Gross disbursements 2,048,912.74
. Federal share of ram income 9.00
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wy i. Adjustments of prior periods 0.00
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Days b. Advances to subgrantees or subcontractors $

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Marisa Schasel - Cash Manager

TELEPHONE (dree Code,
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(617) 496-2507

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3 IDENTIFICATION NO. > 04210350 8/01/96 8/31/96
a. Cash on hand beginning of reporting period DEFICIT $ (1,525,394.29)
b. Letter of credit withdrawals ¥ 2,992,000.00
¢. Treasury check payments 0.00
21. STATUS OF Y
FEDERAL d. Total receipts (Sum of lines 6 and ¢) 2,992,000.00
CASH e. Total cash available (Sum of lines a axd d) 1,462,605. 72
A ft. Gross disbursements 1,993,954. 94
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¢-back) h. Net disbursements (Line f minus line 9) 1,993, 954.94
i. Adjustments of prior periods 0.00
J. Cash on hand end of period DEFICIT $ ($31, 349.23)
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Days b. Advances to subgrantees or subcontractors $

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the purpose and conditions
of the grant or agreement

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DATE .REPORT SUBMITTED

9/10/96

CERTIFYING
OFFICIAL

Marisa Schasel - Cash Manager

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TELEPHONE (Area Code,
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(617) 496-2507

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3. FEDERAL EMPLOYER FROM ({menth, deg. yoor) TO (wenth, daw weer)
IDENTIFICATION NO. » 042130350 9/01/96 9/30/96
a. Cash on hand beginning of reporting period DEFICIT $ (531,349.23)
b. Letter of credit withdrawals 966,000.00
c. Treasury check ents
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FEDERAL d. Total receipts (Sum of lines b and ¢) 966,000.00
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CASH ARO «. Total cash available (Sum of lines a and d) 434,680.77
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Vee g. Federal share of program income 0.00
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instructions ° . . .
on the back) h. Net disbursements (Line f minus line g) 2,439,369.52
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (2,004, 716.75)

12. THE AMOUNT SHOWN | 13.

OTHER INFORMATION

ON LINE 11), ABOVE,

REPRESENTS CASH RE- -
QUIREMENTS FOR THE 8. Interest income $
ENSUING

Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space is required)

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SIGNATURE

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this is true in all re-

AUTHORIZED

DATE.REPORT SUBMITTED

10/08/96

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OFFICIAL

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Marisa Schasel - Cash Manager

TELEPHONE (Area Code,
| Number, Bztenaion) -

(617) 496-2507

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International Development

Washington, D.C. 20503

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3. FEDERAL EMPLOYER ) 042103580 FROM (wonth, das, year) TO (month, day year)
IDENTIFICATION NO. 4/03 £96 10/01/36
a. Cash on hand beginning of reporting period 1$
DEFICIT (2,904,718 .75)
b. Letter of credit withdrawals
3,.402,000.00
c. Treasury check payments
11. STATUS OF vy ° 9,00
d. Total receipts (Sum of lines band c)
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- j. Cash on hand end of period DEFICIT $ (1, 741,009.95)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
ONE TSI CASH RE: -
QUIREMENTS FOR THE a. interest income $
ENSUING
Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach add:tional sheets of plain paper, if more space is required)

15.

CERTIFICATION

1 certity to the best of my
knowledge and belief that
this report is true in all re-

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OATE REPORT SUBMITTED

11/12/96

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the purpose and conditions OFFICIAL Nember, Extenston)
of the grant or agreement ,
Marisa Schasel - Cash Manager (617) 496-2507
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272-102

STANDARD FORM 272 (7-76)

Prescribed by Office of Management and Budget
Cir, No. A~310

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_—— : Approved of Management and Budget. No. 60-RO182
FEDERAL CASH TRANSACTIONS REPORT [© fetes pees econy ent eresintionl someat te walch tis ret
(See instiuetions on the back. If report is for dnore than one grant or Agency for International Development
asristance agreement, attach completed Standard Form £72-A.) Washington, D.C. 20503
> RECIPIENT ORGANIZATION A eerelcan | OC othe Mentifice: |S i eeieiing euarnt number er

See 272A Bee 272A

6. Latler of credit awwber

PRESIDENT & FELLOWS OF HARVARD COLLEGE
7. Catt payment voucher wn

Name : Office for Sponsored Research
Number Holyoke Center - Room 466 72001466 : 287
and Street 1350 Massachusettes Avenue Give total number for this period
B. Fe Neuchers crelited te a :
Cambridge, MA 02138 rar ot 9. Treasury checks tecaived (whether
3 N/A
YAP Cote: 10. PERIOD COVERED BY THIS REPORT

TO (month, day year)

12/30/96
(1,741, 009.95}

2,643,000.00 “

0.00

FROM (month, deg, year)
i/o
DEFICIT $

042103580

3. FEDERAL EMPLOYER )
IDENTIFICATION NO.

a. Cash on hand_beginning of reporting period

b. Letter of credit withdrawals

¢. Treasury check ents
11. STATUS OF y paym

2,643,000.00

FEDERAL d. Total receipts (Sum of lines b and ¢)
ag © : oe * .
_ CASHES SL e. Total cash available (Sum of lines a and d) 902,990.05
me we ae
ve ee se ~ ©. f. Gross disbursements 2,544,576.15
ee ON OT
SOMA Ce. 0.00
specific ‘“" | g. Federal share of program income
“  étetruetions
on the back) h. Net disbursements (Line f minus line g) 2, 544,578.15

1. Adjustments of prior periods 0.90

DEFICIT $ (1, 642,588.10)

]. Cash on hand end of period

12. THE AMOUNT SHOWN {| 13.
ON LINE 11j, ABOVE,

OTHER INFORMATION

REPRESENTS CASH RE-
QUIREMENTS FOR THE| & Mterest income $
ENSUING

b. Advances to subgrantees or subcontractors $

Days

14. REMARKS (Attach additional sheets of plain paper, if more space is required)

15. CERTIFICATION

DATE REPORT SUBMITTED

1 certify to the best of my

knowledge and belief that
this is true in all re-

AUTHORIZED 12/09/96

report
spects and that all disburse- | CERTIFYING TELEPHONE (Ares Code
ments have been made for Nember, Extenaion)
the purpose and conditions OFFICIAL

of the grant or agreement °
risa Schase) - Cash Manager

(617) 496-2507

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272-102 STANDARD FORM 272 (7-76)

Prescribed by Office of Management and Budget
Cir. No. A-110

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Case 1:00-cv-11

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EDERAL CASH TRANSACTIONS REPORT

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. Agency for International Development

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Ses tance agreement, attach completed Standard Form 272-A.) Washington, D.C. 20503
>. RECIPIENT ORGANIZATION 4. Faderst grant or ether Wdentifica- | 5 tee iene mumeer ber of
PRESIDENT & FELLOWS OF HARVARD COLLEGE — See 272A See 272A
Name > office for Sponsored Research 6. Letter of credit umber 7. Last payment woucher number YL
290
ate Holyoke Center - Room 466 __. TAR01468 .
Ni us tber 1350 Maspachusette Avenve Give total number for this period
S. Payment Vouchers credited te | 9. Treasury checks te.cived ( whether
Cambridge, MA 02138 ear acrauat or not deposited)
3 N/A
CPAP Cote: 10. PERIOD COVERED BY THIS REPORT
3. FEDERAL EMPLOYER p 042103580 FROM (month, dex, veer) TO (month, day wear)
{IDENTIFICATION NO. 17/01/96 12/31/96
a. Cash on hand beginning of reporting period DEFICIT lg {1,642,588 .10)
b. Letter of credit withdrawals 2,889,000.00 _,
0.00
c. Treasury check ents
11. STATUS OF Y paym
FEDERAL d. Total receipts (Sum of lines b and ) 2, 889,000.00
CASH e. Total cash available (Sum of lines a and d) 1,246,411.90
f. Gross disbursements 2, 556,832.36
SF os : 0.00
Ysequpecifie g. Federal share of program income
ingtructions ; ‘ : 2,556,832.36
aythe-back ) h. Net disbursements (Line f minus line 9) 4908.
Pe,
fo i. Adjustments of prior periods 9.00
j. Cash on hand end of period DEFICIT $ (1,310,420.46)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
COP RENENTSGASH RE: -
Ss :
QUIREMENTS FOR THE a. interest income $
ENSUING
Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space is required)

15. CERTIFICATION

SIGNATURE

1 certify to the best of my
knowledge and belief that
this report ts true in all: re-
spects and that all disburse-
ments have been made for
the purpose and conditions
of the grant or agreement

AUTHORIZED
CERTIFYING
OFFICIAL

Marisa Schasel - Cash Manager

DATE REPORT SUBMITTED

1/14/97

TELEPHONE (Area Code,
Namber, Ertenston)

(617) 496-2507

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272-102

STANDARD FORM 272 (7-76)

Prescribed by Office of Management and Budget
Cir, No. A=110

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FEDERAL GASH TRANSACTIONS REPORT | tic gormice cmon erestatistsomet te win wi or
(See instructions on the back. If report is for dnore than one grant or Agency for International Development
assistance agreement, attach completed Standard Form 2£72-A.) Washington, D.c. 20503
2. RECIPIENT ORGANIZATION 4. Federe! grant er other Wentifice- | S Recipient's | sccavat aumber or
PRESIDENT & FELLOWS OF HARVARD COLLEGE __See 272A See 272A
Name - O€fice for Sponsored Research &. Letter of credit awmber 7. Lart payment voucher number YO
Number Holyoke Center - Room 4°6 72001468 - 294
and Street 1350 Massachusetts Avenue ata ie tote eet — this period
. Pa Now i . .
Cambridge, MA 02138 your ecoouat Troauuey shacks secaived (whether
4 N/A
Sal 'ZiP Code: 10. PERIOD COVERED BY THIS REPORT
3. FEDERAL EMPLOYER y 042103580 FROM (month, dex, year) TO (month, dev veer)
IDENTIFICATION NO. ns Jas vyais/97
a. Cash on hand beginning of reporting period DEFICIT $ (1,310,420.46)
b. Letter of credit withdrawals 2, 728,000.00
. 0.00
c. Treasury check ments
11. STATUS OF Y pay’
FEDERAL d. Total receipts (Sum of lines b and c) 2, 718,000.00
CASH e. Total cash available (Sum of lines a and d) 1,407,579.54
{. Gross disbursements Fier 98 3? 2,258, 689.36
. g. Federal share of program income f. : ; 0.00
(See specific ve
tnstructions "
on the back) h. Net disbursements (Line f minus line 9) 2,258, 689.36
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (851,109.82)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
REPRESENTS CASH RE: -
QUIREMENTS FOR THE a. Interest income $
ENSUING
Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space it required)

15. CERTIFICATION

SIGNATURE
( certify to the best of my

knowledge and belief that | AUTHORIZED
this report is true In all re-
spects and that all disburse- | CERTIFYING PRINTED NAME ANDO TITLE

ments have been made for

CATE REPORT SUBMITTED

2/11/97

TELEPHONE (Aree Code,
Namber, Extension)

the purpose and conditions OFFICIAL
of the grant or agreement nO

Marisa Schasel - Cash Manager (617) 496-2507
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STANDARD FORM 272 (7-76)
Prescribed by Office of Management and Budget

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FEDERAL CASH TRANSACTIONS REPORT

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(See instructions on the back. If report is fer dnore than one grant or Agency for International Development
assistance agreement, attach completed Standard Form 278-A.) Washington, D.C. 20503
> RECIPIENT ORGANIZATION 2 Fedora grant or athar Manica: |S Recipient's ‘scoownt number 6
PRESIDENT & FELLOWS OF HARVARD COLLEGE See 272A See 272A
\ Name Office for Sponsored Research 6. Latter of credit aumber 7. Last payment weucher number
Number Holyoke Center - Room 466 _sinoonsse 297
and Street 1350 Massachusetts Avenue otal number for this period
Cambridge, MA 02138 a re credited te | 9. Treasury checks tecaived (whether
3 N/A
SY TTE ote: 10. PERIOD COVERED BY THIS REPORT
TO (month, day year)

3. FEDERAL EMPLOYER

>

942103580 FROM (month, dey, your)

IDENTIFICATION NO. 3/01/97 2/28/97
a. Cash on hand beginning of reporting period DEFICIT $ (852,209.82)
b. Letter of credit withdrawals - 1.660, 000.00
0.00
c. Treasury check ents
11. STATUS OF Y paym
FEDERAL d. Total receipts (Sum of lines b and ¢)i x 1,660, 000.00
. o 4
CASH @. Total cash available (Sum of lines a a 606,890.28
{. Gross disbursements 2, 852,659.63
0.00
. Federal share of program income
(See epecific & prog
tnatructions :
on the back) h. Net disbursements (Line { minus line 7) 2,852, 659.63
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT | ¢ (2,043, 769.45)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
REPRESENTS CASH RE: -
QUIREMENTS FOR THE a. Interest income $
ENSUING
Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space ts requtred)

15.

CERTIFICATION

{ certify to the best of my
knowledge and belief that
this report Is true in all re-
spects and that all disburse-
ments have been made for
the purpose and conditions
of the grant or agreement

SIGNATURE

AUTHORIZED

DATE REPORT SUBMITTED

3/14/97

CERTIFYING
OFFICIAL

Marisa Schasel - Cash Manager

TELEPHONE (Aree Code,
Namber, Extension)

(617) 496-2507

THIS SPACE FOR AGENCY USE

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STANDARO FORM 272 (7-76)
Prescribed by Office of Management and Budget

Cir. No. A~110

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FEDERAL CASH TRANSACTIONS REPORT

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Agency for International Development
Washington, D.C. 20503

2. RECIPIENT ORGANIZATION
PRESIDENT & FELLOWS OF HARVARD COLLEGE
Name ? Office for Sponsored Research

Holyoke Center - Room 466

4. Feders! grant ox athar bdentifies- [ 5. Recipient's  acooy
tien aumbee identifying acme” number or
See 272A

See 272A
&. Letter of credit sumbe 7. Cast payment voucher aumber J

72001468 300

Give total number for this period

Number
and Street 1350 Massachusetts Avenue —
Canvridge, MA 02136 B. Parent Nowcnen, credited te | Oe ree See tagtined (sohether
3 N/A
City, State oe: 10. PERIOD COVERED BY THIS REPORT
3. FEDERAL EMPLOYER 042103580 FROM (month, day. year) TO (month, day wear)
IDENTIFICATION NO. 3/01/97 3/31/97

DEFICIT (2,043,769.45)

a. Cash on hand beginning of reporting period

b. Letter of credit withdrawals

3,448,000.00 JS

c. Treasury check payments

6,00

11. STATUS OF

3,448,000.00

FEDERAL d. Total receipts (Sum of lines b and c) fe ‘
CASH e. Total cash available (Sum of lines aandd) /.~ 1, 404,230.55

= 407,070.
f. Gross disbursements 2,407,070.71
¥ ° 0,00

. Federal share of program income \> ,

(See epecific é er prog

instructions " —
on the back) h. Net disbursements (Line { minus line 9) 2,407,070, 71
0.00

i. Adjustments of prior periods

j. Cash on hand end of period

DEFICIT $ {1,002,840.16)

12. THE AMOUNT SHOWN | 13.

OTHER INFORMATION

ON LINE 11j, ABOVE,

REPRESENTS CASH RE-
QUIREMENTS FOR THE a. interest income $
ENSUING

Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space is required)

15. CERTIFICATION

SIGNATURE

1 certify to the best of my
knowledge and belief that | AUTHORIZED
this report Is true in all re-

spects and that all disburse- | CERTIFYING
ments have been made for :
the purpose and conditions OFFICIAL
of the grant or agreement ,

DATE REPORT SUBMITTED
4/21/97

Marisa Schase] - Cash Manager

TELEPHONE (Area Code,
Number, Extenaton)

(617) 496-2507

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assistance agreement, attach completed Standard Form 2£72-A.) on Df, 20863
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2. RECIPIENT ORGANIZATION 4 ieee narloee “ alice lacie’ ee o
PRESIDENT & FELLOWS OF HARVARD COLLEGE | - See272h See 272A
Name : 6. Letter of credit numba 7. Last peyment woucker sumbcr
Office for Sponsored Research x
- Room 466 33001468 =0s"
Be Street : Holyoke Center Give total number for this pertod
1350 Massachusetta Avenue
B. Payment Vewebers credited to | 9. Treasury checks received (whether
Cambridge, MA 02138 yes sernynt or not deposiled)
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SY dik Code: 0. PERIOD COVERED BY THIS REPORT
3. FEDERAL EMPLOYER FROM (meath, day, reer) TO (month, day yeor)
IDENTIFICATION NO. > 042103580
" Af 02/34 4/30/57
a. Cash on hand beginning of reporting period DEFICIT $ (2,002, 840.16)
b. Letter of credit withdrawals 1,496,000.00 !
c. Treasury check ments 9.00
oer af}
i : yo AL 1,466, 000.00
FEDERAL d. Total receipts (Sum of lines 6 and ¢) sS a =>
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CASH e. Total cash available (Sum of lines a and d) mW" . « @\ 483,159.84
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" , Te mm ee
f. Gross disbursements . pager fie 2,248,471.18
e Keyed =
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. _ Federal share of program income a . 0.00
(See specific 8 prog WAY Cp)
instructions 26> NY
on the back) h. Net disbursements (Line / minus line 9) x Tees < 2,248,471.18
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT | $ (1,765,312.34)
‘
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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EPRESENTS CASH RE- .
QUIREMENTS FOR THE a. Interest income $
. ENSUING
Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attack addstional sheets of plain paper, if more space is required)
CCN-0005-A-00-3023-10 and EPE-A-00-95-00122-02

AID Cooperative Agreements Nos.
No expenses incurred during the month are

are currently under suspension.
reflected in net disbursements.

. 15. CERTIFICATION
¢ SIGNATURE DATE REPORT SUBMITTED
t certify to the best of my
knowledge and belief that | AUTHORIZED ~ §/29/97
this report is true in all re- he)
spects and that all disburse- | CERTIFY RIN
- SPCC Fave been made for RTIFYING [Ty R PRINTEO NAME AND TITLE TELEPHONE (.trea Code,
the purpose and conditions | OFFICIAL - | Xamber, Hetension)
of the grant or agreement
Cc Marisa Schasel - Cash Manager (617) 496-2507
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i i . ‘ dnore ti t *
(See instructions ot anh com leted Standard Form i784) ve "| WASHINGTON, DC 20503
2. RECIPIENT ORGANIZATION 4. federal grant or ether identifica. | 5. Recipient's sccount umber o*
PRESIDENT & FELLOWS OF HARVARD COLLEGE see 272A Bee"Z72A
Name Office for Sponsored Research 8. Letter af es 7. Laat payment oe
Number HOlyoke Center - Room 466 72001 : 305 _ O\
Number 1350 Massachusetts Avenue Give total number for this period
Cambridge, MA 02138 Or ccna mee te | Teeny fameal received fyghether
Sel AP Code: 10. PERIOD COVERED BY THIS REPORT
FROM (month, day, year) TO (month, day year)
3 OO ENRICAMONNO > =: 042103580 04/01/97 04/30/97
a. Cash on hand beginning of reporting period - Deficit $ ( 1,002,840. 16)
b. Letter of credit withdrawals , 1,486,000.00 4
c. Treasury check payments 0.00
11, STATUS OF
Ue FEDERAL’ “ d. Total receipts (Sum of lines b and c) 1,486,000.00
wv . -
“ Bases e. Total cash available (Sum of lines a and d) 483,159.84
L Nn . not
YW. mG wh we f. Gross disbursements 3,038,175.60
Mee epecif g- Federal share of program income 0.00
instructions . : . . .
on the back) h. Net disbursements (Line f minus line 9) : 3,038,175.60
i, Adjustments of prior periods . 0.00
i. Cash on hand end of period $ (2,555,015. 76)
12. THE AMOUNT SHOWN } 13. OTHER INFORMATION
REPRESENTS GASH RE -
QUIREMENTS FOR THE a. Interest income $
ENSUING
Days b. Advances to subgrantees or subcontractors : $

14. REMARKS (Attach additional aheets of plain paper, if more epace is required)

Revised to reflect net disbursements for AID cooperative agreement no. CCN-0005-A-00-3023
drawn via Letter of Credit System prior to award suspension.

15. CERTIFICATION
SIGNATURE DATE REPORT SUBMITTED

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this report is true in all re | Manas Ach are 6/13/97
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ments have been made for “ |-TYPED/OR PRINTED NAME AND TITLE TELEPHONE, {Area icone.

the purpose and conditions OFFICIAL
of the grant or agreement

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272-102 STANDARD FORM 272 (7-76)
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4 FEDERAL CASH T NSACTIONS R EPORT 1. anne saeeeeriag agency aad erqenizations! sloment te which this repect
(See instructions on the back. If report is for dnore than one grant or agency for International Development
assistance agreement, attach completed Standard Form 272-A.) Washington, D.C. 20503
2. RECIPIENT ORGANIZATION 4 Foavnantcer | ner Mentifica. | S Recipient's nomorg i bee ce
PRESIDENT & FELLOWS OF HARVARD COLLEGE See 272A ee 272A
Name : Office for Sponsored Research 6. Latter af credit aumbar 7. Last payment voucher number YY
Holyoke Center - Room 466 72001468 304
Number * : 7
and Streel =: 1350 Massachusetts Avenue Give total number for this period
Cambridge, MA 02136 8. ferment Neuchers cradited te | 9. qreatery phecks received (vehether
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City State te: 10. PERIOD COVERED BY THIS REPORT
3. FEDERAL EMPLOYER 042103580 FROM (month, das, weer) TO (month, dav wear)
IDENTIFICATION NO. 5/01/97 6/31/97
: . - DEPICIT (2,555,015. 76)
a. Cash on hand beginning of reporting period - : l$

. 3,612,623.00
b. Letter of credit withdrawals

0.00

. ¢. Treasury check ments
11: STATUS OF. y pay’
= 3,612,623.00

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FEDERAL) - ao d, Total receipts (Sum of lines b and ¢)
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: eV YT \N Wore. 1, 582,060.85
a Yi elo {. Gross disbursements
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Sa oad S g. Federai share of program income
trrtructions . : 1, 582,060.85
on the back) h, Net disbursements (Line f minus line 9)
. 0.00
i. Adjustments of prior periods
j. Cash on hand end of period DEFICIT 5 (524,453.61)
12. THE AMOUNT SHOWN | 13, OTHER INFORMATION
REPRESENTS CASH RE: >
QUIREMENTS FOR THE &. Interest income . $
ENSUING
Days b. Advances to subgrantees or subcontractors $
14, REMARKS (Attach additional sheets of plain paper, if more space is required) .
This 272 report includes $25,196.01 of expenses drawn prior to the suspension of
AID assistance agreement CNN-0005-A~-3023-00.
15. CERTIFICATION
SIGNATURE DATE REPORT SUBMITTED
certify to the best of my
knowledge and belief that | AUTHORIZED 6/17/97
this report is true in all re-
spects and that all disburse- | CERTIFYING R PRINTED NAME AND TITLE TELEPHONE (Area Code,

ments have been made for Number, Extenelon)

the purpose and conditions OFFICIAL

of the grant or agreement Marisa Schasel - Cash Manager (617) 496-2507

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272-102 / STANDARD FORM 272 (7-76)
. Prescribed by Office of Management and Budget

Cir, No. A-110

